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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                TERRE HAUTE DIVISION

CHRISTOPHER JOE MCCASTER,                    )
                                             )
               Plaintiff,                    )
                                             )
       v.                                    )   CASE NO. 2:18-cv-00251-JRS-DLP
                                             )
MCKINNEY, SHAW,                              )
S. GONZALEZ,                                 )
                                             )
               Defendants.                   )

        ANSWER WITH DEFENSES, INCLUDING AFFIRMATIVE DEFENSES

       In response to the Complaint filed by the Plaintiff Christopher McCaster and screened by

the Court on or about August 14, 2018, Defendants Kyle McKinney, Alexander Shaw, and

Shareeta Gonzalez, by counsel, Jarod M. Zimmerman, Deputy Attorney General, for answer to the

Complaint state that:

                                           ANSWER

         Defendants, for their answer to the Complaint herein allege and state that:

       1.      Defendants admit the material allegations in the complaint that are consistent with

the following facts:

            a. Plaintiff is an offender confined in the Wabash Valley Correctional Facility,

                located at 6908 S. Old U.S. Highway 41, Carlisle, IN 47838.

            b. Plaintiff’s DOC Number is 210738.

            c. This Court has jurisdiction to hear federal claims pursuant to 28 U.S.C. § 1331.

            d. Plaintiff is attempting to allege an Eighth Amendment excessive force claim

                under 42 U.S.C. § 1983 against Defendants McKinney and Shaw.
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            e. Plaintiff is attempting to allege an Eighth Amendment claim under 42 U.S.C. §

                  1983 against Defendant Gonzalez.

       2.         Defendants deny all other allegations, whether of fact or law, not specifically

admitted above.

                                   STATEMENT OF DEFENSES

       1.         Plaintiff’s rights, privileges, and immunities secured under the Constitution or laws

of the United States or the State have not been violated by any alleged action, inaction, or omission

of Defendant Tillman;

       2.         The Complaint fails to state an actionable claim for relief under 42 U.S.C. § 1983;

       3.         Defendants at all times acted reasonably, without malice, and in good faith;

       4.         All actions taken by Defendants with regard to Plaintiff were for legitimate, non-

discriminatory reasons, and were without discriminatory intent, purpose, or effect;

       5.         Defendants’ actions were objectively reasonable and did not violate any clearly

established principle of Federal law; therefore, Defendants are entitled to qualified immunity;

       6.         Some or all of Plaintiff’s claims may be barred by the doctrines of sovereign

immunity, qualified immunity, discretionary immunity, or any other applicable immunity; and

       7.         Defendants respectfully reserve any and all rights they may have to raise additional

defenses as discovery in this cause continues, or as justice so requires.

       WHEREFORE Defendants Kyle McKinney, Alexander Shaw, and Shareeta Gonzalez

request that Plaintiff take nothing by way of his complaint, that judgment be entered for

Defendants, and that the Court grant Defendants all other just and proper relief.




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                                                 Respectfully submitted,

                                                 CURTIS T. HILL, JR.
                                                 Attorney General of Indiana
                                                 Attorney No. 13999-20

Date: October 12, 2018                   By:      s/ Jarod M. Zimmerman
                                                 Jarod M. Zimmerman
                                                 Deputy Attorney General
                                                 Attorney No. 34836-53



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                                CERTIFICATE OF SERVICE

       I hereby certify that on September 12, 2018 I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system. I further certify that on September 12, 2018, I

mailed, by United States Postal Service, first-class postage prepaid, the document to the following

non CM/ECF participants:

       Christopher Joe McCaster
       DOC #210738
       Wabash Valley Correctional Facility
       6908 S. Old U.S. Highway 41
       Carlisle, IN 47838




                                              s/Jarod M. Zimmerman
                                             Jarod M. Zimmerman
                                             Deputy Attorney General


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